 1   TIMOTHY S. LAFFREDI (WI SBN 1055133)
     Assistant United States Trustee
 2   United States Department of Justice
     Office of the U.S. Trustee
 3   450 Golden Gate Avenue, Suite 05-0153
     San Francisco, CA 94102
 4   Telephone: (415) 705-3333
     Facsimile: (415) 705-3379
 5   Email: timothy.s.laffredi@usdoj.gov
 6
     Attorneys for Andrew R. Vara,
 7   Acting United States Trustee for Region 3 1
 8
                                  UNITED STATES BANKRUPTCY COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
10
         In re                                            )     Case Nos. 19-30088 DM (Lead Case)
11                                                        )
         PG&E CORPORATION                                 )                  19-30089 DM
12                                                        )
                  and                                     )     Chapter 11
13                                                        )
         PACIFIC GAS AND ELECTRIC                         )     Jointly Administered
14       COMPANY,                                         )
                                                          )
15                                                        )
                               Debtors.                   )
16                                                        )
                                                          )
17                                                        )
         ☐        Affects PG&E Corporation                )
18       ☐        Affects Pacific Gas and Electric        )
                  Company                                 )
19       ☒        Affects both Debtors                    )
                                                          )
20       * All papers shall be filed in the Lead          )
         Case No. 19-30088 DM.                            )
21                                                        )
22        APPOINTMENT OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
23               Pursuant to 11 U.S.C. § 1102(a), Andrew R. Vara, Acting United States Trustee for
24   Region 3, hereby appoints the following unsecured creditors to be members of the official
25   committee of unsecured creditors:

26   //

27   //

28   1  Andrew R. Vara, Acting United States Trustee for Region 3, is acting in this appointment for Tracy Hope Davis,
     United States Trustee for Region 17, whom is recused from the above-captioned cases.

     APPOINTMENT OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

     Case: 19-30088          Doc# 409      Filed: 02/12/19        Entered: 02/12/19 10:07:10            Page 1 of 3
 1      1. BOKF, N.A., as indenture trustee under unsecured bond indentures
           Attn: George Kubin, SVP – Regional Manager
 2
           1600 Broadway, 3rd Floor
 3         Denver, CO 80202
           GKubin@bokf.com
 4
        2. Deutsche Bank National Trust Company and Deutsche Bank Trust Company Americas
 5
           Attn: Brendan Meyer
 6         60 Wall Street, 16th Street
           New York, NY 10005
 7         Brendan.meyer@db.com
 8
        3. Western Asset Management Company, LLC
 9         Attn: Christopher Jacobs
           385 E. Colorado Blvd.
10         Pasadena, CA 91101
           Christopher.jacobs@westernasset.com
11
12      4. NextEra Energy, Inc.
           Attn: Mark Hickson
13         700 Universe Blvd.
           Juno Beach, FL 33408
14
           Mark.Hickson@nexteraenergy.com
15
        5. Roebbelen Contracting, Inc.
16         Attn: Robert McLean
           1241 Hawks Flight Court
17
           El Dorado Hills, CA 95762
18         RobM@Roebbelen.com

19      6. The Davey Tree Expert Company, Davey Tree Surgery Company, and DRG, Inc.
           Attn: Erika Schoenberger
20
           1500 North Mantua Street
21         Kent, OH 44240
           Erika.schoenberger@davey.com
22
        7. G4S Secure Solutions (USA) Inc. and G4S Secure Integration LLC
23
           Attn: Joseph Schwaderer, CFO
24         1395 University Blvd
           Jupiter, FL 33458
25         Joseph.schwaderer@usa.g4s.com
26
        8. International Brotherhood of Electrical Workers, Local 1245
27         Attn: Doug Girouard
           30 Orange Tree Circle
28         Vacaville, CA 95687


     APPOINTMENT OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

     Case: 19-30088    Doc# 409     Filed: 02/12/19   Entered: 02/12/19 10:07:10   Page 2 of 3
 1          deg0@ibew1245.com
 2
        9. Pension Benefit Guaranty Corporation
 3         Attn: Cynthia Wong
           Corporate Finance and Restructuring Department
 4         1200 K Street, N.W.
           Washington, D.C. 20005
 5
           wong.cynthia@pbgc.gov
 6
     Dated: February 12, 2019                 Andrew R. Vara
 7                                            Acting United States Trustee, Region 3
 8
                                              /s/ Timothy S. Laffredi
 9                                            Assistant United States Trustee

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     APPOINTMENT OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

     Case: 19-30088    Doc# 409    Filed: 02/12/19   Entered: 02/12/19 10:07:10        Page 3 of 3
